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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,             )
                                       )
                     Plaintiff,        )
                                       )
              v.                       )              Case No. 1:04-cv-00798-PLF-GMH
                                       )
 ALL ASSETS HELD AT BANK JULIUS )
 Baer & Company, Ltd., Guernsey        )
 Branch, account number 121128, in the )
  name of Pavlo Lazarenko, et al.      )
                                       )
                     Defendants In Rem )

          PLAINTIFF UNITED STATES OF AMERICA’S MOTION FOR
            SANCTIONS, OR ALTERNATIVELY TO COMPEL, FOR
     ALEXANDER LAZARENKO’S FAILURE TO APPEAR AT HIS DEPOSITION

       Plaintiff United States of America (“United States”), by and through its undersigned

attorneys, respectfully files this motion, pursuant to Federal Rule of Civil Procedure 37(a) and

(d), for sanctions based on the failure of claimant Alexander Lazarenko to appear for his

deposition in this matter. Over the last four months, the United States has diligently attempted to

depose Alexander Lazarenko. Rather than agree to appear for a deposition in his home country

of Ukraine, Alexander Lazarenko has alternatively suggested he would withdraw his claim,

refused to appear at the deposition, or stated he would refuse to answer questions at the

deposition. After Alexander Lazarenko failed to obtain a visa to enter the United States for a

deposition, the United States re-noticed Alexander Lazarenko’s deposition for June 27, 2019, in

Kiev, Ukraine. On June 26, 2019, Alexander Lazarenko filed a stipulation in this Court that he

“cannot appear for a deposition” in Ukraine. Alexander Lazarenko thereafter failed to appear for

his deposition on June 27, 2019. Notwithstanding the Court’s order directing him to cooperate in

scheduling his deposition, Alexander Lazarenko has repeatedly avoided providing sworn

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testimony and delayed conclusion of fact discovery. It is time for Alexander Lazarenko’s

evasion of the Court’s orders and his disregard for his discovery responsibilities under the

Federal Rules to end. The United States requests that this Court dismiss his claim and order that

no remaining claimant in this matter be permitted to rely on evidence produced by Alexander

Lazarenko, or rely on evidence produced by any party referring to Alexander Lazarenko, to

support claimants’ claims or defenses in this matter. Alternatively, the United States seeks an

order requiring Alexander Lazarenko to appear for a deposition in Ukraine and answer the

questions posed by the United States, and further order him to pay the United States’ travel and

logistical costs associated with taking his deposition.

                                  FACTUAL BACKGROUND

       The United States advised counsel for Alexander Lazarenko in May 2017 that it wanted

to take his deposition. See May 16, 2017, Hearing Tr., at 44-46. Alexander Lazarenko, a

Ukrainian citizen who supposedly resides in Lviv, Ukraine, successfully avoided being deposed

for ten months, at which point the Court entered a stay in March 2018 in order for the parties to

engage in mediation.

       The stay remained in place until February 2019, at which time the United States sent a

letter to counsel for Alexander Lazarenko, proposing a date and location for his deposition. See

February 22, 2019, E-mail from D. Claman (attached as Ex. 1). Having received no response,

the United States on February 25, 2019, sent a deposition notice setting March 18, 2019, as the

date for Alexander Lazarenko’s deposition in Kiev, Ukraine. See Amended Notice of Deposition

of Alexander Lazarenko (attached as Ex. 2). 1 The United States on March 1, 5, and 6, 2019,




1
 The parties have previously conducted depositions in Ukraine pursuant to U.S. requests for
mutual legal assistance.
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attempted to confirm that Alexander Lazarenko would appear for his deposition. After not

receiving a response, the United States filed a letter brief with the Court moving to compel his

cooperation in setting his deposition or to show cause why his claim should not be dismissed.

Dkt. No. 1123-1. Alexander Lazarenko responded on March 8, 2019, advising the Court that he

may withdraw his claim. Dkt. No. 1125. Given the suggestion that he may withdraw his claim,

the United States informed Alexander Lazarenko it would not proceed with his deposition on

March 18, 2019.

       Three days later, Alexander Lazarenko changed his mind, and represented to this Court

that it was unclear whether he would or would not withdraw his claim, and suggested it would be

dangerous to proceed with his deposition in Ukraine, the country where he resides. Dkt. No.

1127-2. The Court thereafter granted the United States’ motion to compel and ordered

Alexander Lazarenko to “cooperate with his counsel and the government in setting his deposition

and making himself available for his deposition.” Dkt. No. 1128.

       Notwithstanding the Court’s admonition, Alexander Lazarenko continued to refuse to sit

for a deposition in Ukraine, instead demanding that the deposition proceed in the United States,

despite the fact that he had not yet even applied for a visa to travel to the United States after his

deposition had been noticed. The United States again moved to compel his deposition in

Ukraine, but the Court determined that for purposes of convenience and economy, it would give

Alexander Lazarenko an opportunity to apply for a visa to travel to the United States. Dkt. No.

1135. Alexander Lazarenko applied for a visa to travel to the United States on or about April 6,

2019, and was denied a visa on May 6, 2019, purportedly because the United States consular

official “was not satisfied that Mr. Lazarenko did not intend to immigrate to the United States

permanently,”. Dkt. No. 1162-1. When the United States sought further relief from the Court,



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Alexander Lazarenko responded by stating “[s]hould the government notice a deposition of Mr.

Alexander Lazarenko in Ukraine, he will not answer the questions posed.” (Dkt. No. 1166-1).

After a Court hearing on this issue, among others, the United States on June 12, 2019, served an

amended deposition notice on Alexander Lazarenko, setting the deposition for June 27, 2019, in

Kiev, Ukraine. Amended Notice of Deposition of Alexander Lazarenko (attached as Ex. 2). On

June 26, 2019, pursuant to this Court’s Order, Alexander Lazarenko filed a stipulation stating “I

cannot appear for a deposition at the General Prosecutor’s Office or any other location in

Ukraine where a member of the General Prosecutor’s Office of Ukraine will be present”. Dkt.

No. 1178-1. Consistent with this representation, Alexander Lazarenko, in fact, did not appear on

June 27, 2019, for his deposition. See Ltr. from D. Petrenko dated June 27, 2019 (attached as

Ex. 3).

                                         LEGAL ANALYSIS

          Federal Rule of Civil Procedure 37 permits a party to move to compel discovery or

disclosure from another party or person when either: (1) a party or nonparty disobeys a court

order; or (2) when a party fails to appear or refuses to appear for a deposition. FED. R. CIV. P.

37(a), (b), and (d). Specifically, Rule 37(d) provides that the Court may order sanctions against a

party when “a party or party’s officer, director or managing agent ... fails, after being served with

proper notice, to appear for that person’s deposition.” FED. R. CIV. P. 37(d)(1)(A)(ii). Under

Rule 37(d)(3), sanctions may include any of the sanctions listed in Rule 37(b)(2)(a)(i)-(vi).

These are:

          (i) directing that the matters embraced in the order or other designated facts be
          taken as established for purposes of the action, as the prevailing party claims;
          (ii) prohibiting the disobedient party from supporting or opposing designated
          claims or defenses, or from introducing designated matters in evidence;
          (iii) striking pleadings in whole or in part;
          (iv) staying further proceedings until the order is obeyed;

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       (v) dismissing the action or proceeding in whole or in part;
       (vi) rendering a default judgment against the disobedient party;
       (vii) treating as contempt of court the failure to obey any order except an order to
       submit to a physical or mental examination.

FED. R. CIV. P. 37(d)(3). In addition, the court must, in lieu of or in addition to the above-

mentioned sanctions, “require the party failing to act, the attorney advising that party, or both to

pay the reasonable expenses, including attorney’s fees, caused by the failure.” FED. R. CIV. P.

37(d)(3).

       Furthermore, if a party “fails to obey an order to provide or permit discovery, including

an order under Rule 26(f), 35, or 37(a), the court may order any of the aforementioned sanctions

as relief. FED R. CIV. P. 37(b)(2). As with the instance where a party fails to attend its own

deposition, failure to obey a court order also results in the mandatory award of reasonable

expenses and attorney’s fees caused by the failure to obey a court order. FED. R. CIV. P.

37(b)(2)(C).

                                           ARGUMENT

   A. ALEXANDER LAZARENKO’S CLAIMS SHOULD BE DISMISSED AND THE
      REMAINING CLAIMANTS PRECLUDED FROM INTRODUCING EVIDENCE
      ABOUT HIM OR HIS ACTIVITIES

       A party who seeks a deposition under Rule 30, and who believes that the opposing party

has failed to meet its obligations to produce a witness to testify in accordance with that Rule,

may, after conferring in good faith with the opposing party, seek to compel discovery. See FED.

R. CIV. P. 37(a)(1).

       Since fact discovery was re-opened in this matter in February 2019, the United States has

diligently attempted to take the deposition of Alexander Lazarenko in Ukraine, the country

where he resides. Most recently, immediately following this Court’s June 12, 2019, hearing, the

United States served a deposition notice on Alexander Lazarenko for him to appear at 9:30 a.m.


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on June 27, 2019, at the Prosecutor General’s Office in Kiev, Ukraine. Amended Notice of

Deposition of Alexander Lazarenko (attached as Ex. 2). Alexander Lazarenko did not appear for

his deposition at the appointed time. See June 27, 2019, Ltr. from D. Petrenko (attached as Ex.

3).

        Alexander Lazarenko did not seek to quash the deposition notice, and therefore has no

basis for failing to appear for his deposition. 2 The only explanation proffered by Alexander

Lazarenko for failing to appear for his deposition is his subjective statement that he is

“concerned for my safety and for the safety of my family members.” Dkt. No. 1178-1. The

Court has already rejected this basis for Alexander Lazarenko’s refusal to appear for a

deposition, noting that Alexander Lazarenko has voluntarily lived in Ukraine for many years,

and Alexander Lazarenko has offered no evidence to believe there is a valid basis to believe he

would suffer any harm as a result of being deposed in Ukraine. See Apr. 9, 2019, Hearing

Transcript, at 33-34.

        Based on Alexander Lazarenko’s failure to appear, and the likelihood that he will refuse

to appear for a deposition in Ukraine even if ordered to do so by this Court, the United States

requests that this Court dismiss his claim pursuant to Federal Rule 37(b)(2)(A)(v). The D.C.

Circuit determined that a default judgment is an appropriate sanction when a party’s misconduct:

1) “severely hampered the other party’s ability to present his case”; (2) results in “prejudice

caused to the judicial system when the party’s misconduct has put ‘an intolerable burden on a

district court by requiring the court to modify its own docket and operations in order to



2
  Counsel for Alexander was well aware of the June 27, 2019, deposition date, even offering to
change the deposition date if necessary. See E-mail correspondence between E. Backman and A.
Schwartz (attached as Ex. 4). Given that Alexander Lazarenko would not cooperate on the
language of the stipulation to be filed with the Court on June 26, 2019, the United States did not
amend the deposition notice.
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accommodate the delay’”; and (3) “the need ‘to sanction conduct that is disrespectful to the court

and to deter similar misconduct in the future.’” Webb v. District of Columbia, 146 F.3d 964, 971

(D.C. Cir. 1998) (quoting Shea v. Donohoe Construc. Co., 795 F.2d 1071, 1074-77) (D.C. Cir.

1986). This Court, in similar circumstances, entered a default judgment against a defendant who

failed to participate in discovery and refused to appear for a deposition. See Perez v. Berhanu,

583 F. Supp. 2d 87, 90-92 (D.D.C. 2008). An order to compel discovery pursuant to Federal

Rule 39(a) or (b) is not a prerequisite to the imposition of sanctions under Federal Rule 37(d)

when a party fails to appear for a deposition. See Alexander v. F.B.I., 186 F.R.D. 6 (D.D.C.

1998) (permitting immediate sanctions against parties for willful failure to comply with

discovery rules).

        All three elements necessary for imposition of dismissal as a sanction are present here.

First, the United States will be prejudiced in challenging Alexander Lazarenko’s claims and

affirmative defenses in this matter if it cannot depose him to determine his knowledge of and

involvement in various money laundering or other criminal schemes, or the basis for his asserted

ownership interest in assets that he has claimed. Second, Alexander Lazarenko’s conduct has not

only burdened the Court through the unnecessary extension of discovery in this matter, but has

also necessitated multiple hearings and orders in his so far successful scheme to avoid giving

sworn testimony in this case. See Apr. 9, 2019, Hearing Transcript, at 34 (“this whole exercise

has been an attempt—and perhaps a different judge would do it differently—to bend over

backwards to allow Mr. Lazarenko to meet his obligations to this Court, knowing that if he fails

to do so, that his claim may well be dismissed.”). Third, it is clear that Alexander Lazarenko’s

failure to sit for a deposition is a willful action, and that no lesser sanction will result in his

agreeing to be deposed in Ukraine. Thus, dismissal of his claim is appropriate.



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       In addition to dismissal of Alexander Lazarenko’s claim, the United States also asks this

Court to preclude any of the remaining claimants—Pavel Lazarenko, Ekaterina Lazarenko, or

Lecia Lazarenko—from introducing discovery produced by Alexander Lazarenko or regarding

Alexander Lazarenko as evidence either in dispositive motions or at trial in this matter. Claimant

Pavel Lazarenko is Alexander Lazarenko’s father. One of Alexander Lazarenko’s lawyers

previously represented Pavel Lazarenko, and the two claimants contend they maintain a joint

defense agreement. See Lessia Shatalin Depo. Tr., at 231-232 (attached as Ex. 5). Similarly,

Alexander Lazarenko and his sisters, Ekaterina and Lecia, share the same counsel and similarly

assert a joint client privilege. During discovery in this matter, claimants have repeatedly claimed

that Alexander Lazarenko is the only one who would have knowledge about certain entities,

including an entity that Lecia Lazarenko represented as president, secretary, and treasurer. See,

e.g., id., at 53-62. Allowing the remaining claimants to introduce evidence from a party with

whom they contend they have a privileged relationship and who has chosen to make himself

unavailable for purposes of discovery, likely for litigation advantage, would unfairly prejudice

the United States. Thus, none of the remaining claimants should be allowed to include material

produced by Alexander Lazarenko, or material regarding Alexander Lazarenko, in dispositive

motions or be able to introduce the material at trial.

   B. ALTERNATIVELY, ALEXANDER LAZARENKO SHOULD BE
      ORDERED TO APPEAR FOR A DEPOSITION IN UKRAINE
      AND PAY COSTS TO THE UNITED STATES

       In addition to accommodating Alexander Lazarenko’s attempts to proceed with his

deposition in a place of his choosing, this Court has also provided Alexander Lazarenko with

multiple options to avoid monetary sanctions for failing to appear for a deposition. Most

recently, the Court suggested that Alexander Lazarenko could provide the United States and the

Court with a stipulation stating that he would not appear for a deposition in Ukraine, even if
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ordered to do so by this Court, to avoid the United States having to travel and pay the cost of

taking his deposition if he was not going to appear. June 12, 2019, Hearing Transcript. While

the United States would be hampered in presenting its case because it would not obtain the

benefit of deposing Alexander Lazarenko’s regarding his knowledge of and involvement in Pavel

Lazarenko’s money laundering activities, it nevertheless agreed to the accommodation because it

would avoid wasting valuable resources with little potential discovery benefit.

       Rather than providing a satisfactory stipulation, the stipulation provided by Alexander

Lazarenko, which is not offered under penalty of perjury, only states that he “cannot appear for a

deposition,” without providing any explanation about what he would do if this Court ordered him

to appear for a deposition in Ukraine. Dkt. No. 1178-1. Because this stipulation fails to address

what Alexander Lazarenko would do if this Court orders him to appear for a deposition in

Ukraine, the United States requests that, if the Court does not enter an Order dismissing his

claim, that the Court enter an Order requiring Alexander Lazarenko to appear for a deposition

and answer questions in Ukraine within 30 days of the entry of the Order.

       In addition, the United States requests that the Court enter an Order requiring Alexander

Lazarenko to pay all travel, administrative, lodging, and logistical costs (including court reporter,

translator, and videographer) for having to re-schedule his deposition. Sanctions are appropriate

in this instance, even without a prior entry of a court order, because Alexander Lazarenko

disregarded a valid deposition notice, and failed to appear for his deposition. 3 See Alexander,



3
  If Alexander Lazarenko provides the Court with a stipulation, under penalty of perjury, stating
that he will refuse to appear for a deposition in Ukraine and refuse to answer questions, even if
ordered to do so by the Court, then the United States believes the appropriate sanction under
Federal Rule 37(b)(2)(A) would be dismissal of his claim, as requested in section A of the
argument. If Alexander Lazarenko provides a satisfactory stipulation, the United States will
withdraw its request for monetary sanctions since the stipulation will avoid the time and expense
of travelling to Ukraine when the deponent will not appear or answer questions.
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186 F.R.D., at 86-87; WRIGHT & MILLER, FEDERAL PRACTICE AND PROCEDURE § 2291 (1994)

(“Rule 37(d) allows the imposition of sanctions against a party for especially serious disregard of

the obligations imposed by the discovery rules even though it has not violated any court order.”).

Alexander Lazarenko’s failure to appear is especially egregious because he filed a claim in this

matter to assets worth approximately $170 million, yet refuses to allow the United States to fully

test the basis for his claim.

                                         CONCLUSION

        For the foregoing reasons, the United States respectfully requests this Court enter an

order: (1) dismissing all claims filed by Alexander Lazarenko; and (2) precluding claimants

Pavel Lazarenko, Lecia Lazarenko, or Ekaterina Lazarenko, from introducing any evidence in

dispositive motions or at trial referencing Alexander Lazarenko, his ownership interest in any

companies or entities, or any actions taken by Alexander Lazarenko. Alternatively, the United

States respectfully requests this Court enter an order: (1) requiring Alexander Lazarenko to

appear for a deposition in Kiev, Ukraine in this matter within 30 days; (2) requiring Alexander

Lazarenko to answer the United States’ questions at such a deposition, and (3) requiring

Alexander Lazarenko pay for all travel, hotel, incidental, translator, court reporter, and

videographer costs associated with taking his deposition. A proposed Order is attached.



                                              Respectfully submitted,


                                              DEBORAH CONNOR, CHIEF
                                              MONEY LAUNDERING
                                               AND ASSET RECOVERY SECTION



                                              DANIEL H. CLAMAN

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      CERTIFICATE OF COMPLIANCE WITH FEDERAL AND LOCAL RULES

       Pursuant to Federal Rule of Civil Procedure 37 and United States District Court for the

District of Columbia Local Rule 7(m), I hereby certify that the United States of America has

conferred in good faith with counsel for Alexander Lazarenko in an attempt to resolve this matter

without further intervention from this Court.




                                                           Adam Schwartz




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the District of Columbia, using the

electronic case filing system of the Court. The electronic case filing system sends a “Notice of

Electronic Filing” to all attorneys of record who have consented in writing to accept the Notice

as service of this document by electronic means.




                                                             Adam Schwartz




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